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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION
STATE OF GEORGIA,
                                                  Case No. 1:23-cv-3721
v.
                                                  (Related to:
JEFFREY BOSSERT CLARK,
                                                  Case Nos.      1:23-cv-03621-SCJ
DEFENDANT.                                                       1:23-cv-03720-SCJ
                                                                 1:23-cv-03792-SCJ
                                                                 1:23-cv-03803-SCJ

                                                  Judge Steve C. Jones

                                                  On Removal from the Fulton
                                                  County Superior Court

                      JEFFREY B. CLARK’S REPLY
                       IN SUPPORT OF REMOVAL
                               INTRODUCTION

      The propriety of Defendant Clark’s Notice of Removal (as supplemented with

newly released Special Purpose Grand Jury (“SPGJ”) material) stands on its own.

Nevertheless, we have reviewed this Court’s Order remanding Mark Meadows’

removal. Respectfully, it goes astray on three important points: (1) disputes over

removal of prosecutions of federal officers should be conducted like mini-trials on

the merits; (2) removability should not be conflated with whether removing

defendants will be able to prevail on their federal merits defenses; and (3) there is

nothing in the test of federal officer removal that involves a separate or distinct

balancing of state and federal interests because that balance is already struck by the
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language of 28 U.S.C. § 1442 and the case law applying it. This Reply addresses

these three points.

      I.       APPLICABLE RULES OF EVIDENCE IN REMOVAL HEARING
               U N D E R 28 U.S.C. § 1455.

      Under Federal Rule of Evidence 1101(d)(3), those Rules do not apply to

“miscellaneous proceedings.” The hearing contemplated by 28 U.S.C. § 1455(b)(5)

is such a miscellaneous proceeding. See Stallings v. Georgia-Pac. Corp., No. 3:12-

CV-00724-H, 2013 WL 1563231, at *3 (W.D. Ky. Apr. 12, 2013) (“Defendants can

meet their evidentiary obligations to sustain their notice of removal with declarations

and affidavits, depending on the content and source of the information contained

therein.”).1 See Fed. R. Civ. P. 43(c) (Evidence on a Motion. When a motion relies

on facts outside the record, the court may hear the matter on affidavits or may hear

it wholly or partly on oral testimony or on depositions.”). The Notice of Removal

also removed the civil SPGJ proceedings, making Rule 43(c) applicable as well.

      II.      STANDARD OF REVIEW OF FEDERAL OFFICER REMOVALS

      The federal officer removal statute shields the supremacy of the federal

government against encroachment and incursions by state and local governments.

“It scarcely need be said that such measures [i.e., the federal officer removal statute]


1 Hagen v. Benjamin Foster Co., 739 F. Supp. 2d 770, 773 (E.D. Pa. 2010) (affidavits

sufficient to establish removal in federal contractor case); Hilbert v. McDonnell
Douglas Corp., 529 F. Supp. 2d 187, 196–97 (D. Mass. 2008); Machnik v. Buffalo
Pumps, Inc., 506 F. Supp. 2d 99, 103 (D. Conn. 2007) (using affidavits in removal).
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are to be liberally construed to give full effect to the purposes for which they were

enacted.” Colorado v. Symes, 286 U.S. 510, 517 (1932) (emphasis added). “In cases

like this one, Congress has decided that federal officers, and indeed the federal

government itself, require the protection of a federal forum. This policy should not

be frustrated by a narrow, grudging interpretation of § 1442(a)(1).” Willingham v.

Morgan, 395 U.S. 402, 407 (1969). See also Tennessee v. Davis, 100 U.S. 257, 262-

63 (1879). “‘[T]he removal statute ‘is broad enough to cover all cases where federal

officers can raise a colorable defense arising out of their duty to enforce federal

law.... In fact, one of the most important reasons for removal is to have the validity

of the defense of official immunity tried in a federal court.’” Mesa v. California, 489

U.S. 121, 133 (1989) (emphasis added) citing Willingham, 395 U.S. at 406-07.

      There are three elements that must be established for federal officer removal.

First, Mr. Clark must show that he was a federal officer. Second, Mr. Clark must

show that the actions for which he is being prosecuted in state court are “for or

relating to any act under color of such office.” § 1442(a)(1). Third, he must raise a

“colorable federal defense.” Caver v. Central Ala. Elec. Coop., 845 F.3d 1135, 1142

(11th Cir. 2017); Georgia v. Heinze, 637 F. Supp. 3d 1316, 1321 (N.D. Ga. 2022),

citing Mesa, 489 U.S. at 129.

             1.     F EDERAL O FFICER

      The first element, that Mr. Clark was a federal officer, is undisputed. We


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nevertheless submit contemporaneously herewith proof of the fact. Mr. Clark was at

all times relevant to the Indictment an Assistant Attorney General of the United

States and thus, indisputably, a federal officer. This is established by the dates of his

Commission and resignation, which bracket the dates of his alleged acts in the

Indictment (December 28, 2020 to January 2, 2021). See Clark Decl., ¶ 2, Exh. 1.

Notably, and contrary to the State’s position on the color of law issue, the

Commission was not limited to any one Division of the Department of Justice or any

stove-piped or siloed area of responsibility. Id. Mr. Clark served as the Assistant

Attorney General for both the Environment and Natural Resources Division and,

from September 1, 2020 until his resignation on January 14 2021, the Civil Division.

See Clark Decl. ¶ 4, Exh. 2; ¶ 8, Exh. 3.

             2.     C OLOR OF L AW

      The second prong of the federal officer removal test is that the actions for

which Mr. Clark is being prosecuted are “for or relating to any act under color of

such office.” § 1442(a)(1) (emphasis added). This requires “‘a causal connection

between what the officer has done under asserted official authority and the action

against him.’” Caver, 845 F.3d at 1142, quoting Mangin v. Teledyne, 91 F.3d 1424,

1427 (11th Cir. 1996). Noting that the 2011 amendment to Section 1442(a)(1) added

the phrase “relating to,” the Court observed:

      The phrase “relating to” is broad and requires only “a connection’ or
      ‘association’ between the act in question and the federal office.” …

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      “The hurdle erected by this requirement is quite low … .”.

Caver, 845 F.3d at 1144 (cleaned up).

      How does the Court determine whether the officer was acting under color of

law? Only a threshold showing is required, and in testing whether the threshold has

been met, the Court must credit the officer’s theory of the case, not decide the merits:

      Importantly, the State’s allegations do not control the causal-
      connection analysis. Osborn v. Haley, 549 U.S. 225, 249–50 (2007).
      Rather, courts must “credit [the officer’s] theory of the case” to
      determine whether the officer “ha[s] made an adequate threshold
      showing that the suit is ‘for a[n] act under color of office.’” Jefferson
      Cty. [Ala. v. Acker], 527 U.S. [423,] 432 [(1999)] (citation omitted).

Texas v. Kleinert, 855 F.3d 305, 312 (5th Cir. 2017) (emphasis added). The following

language from Kleinert neatly anticipates and invalidates the State’s color of law

arguments in this case:

      For example, if, in opposing removal, the state contends that the federal
      officer was not acting in his official capacity but instead “may have
      been on a frolic of his own[,]” then the officer “should have the
      opportunity to ‘present his version of the facts to a federal court.’”
      Osborn, 549 U.S. at 251 (alterations omitted) (quoting Willingham, 395
      U.S. at 409). An officer is not required to definitively “exclude[ ] the
      possibility that the suit is based on acts or conduct not justified by his
      federal duty” before removal. Id. at 249.

Id. (emphasis added). In other words, the evidentiary hearing under § 1455(b)(5) is

not a vehicle for trying the merits of the federal officer’s defenses.

      In Jefferson Cty., Ala. v. Acker, the county imposed an occupational tax on

federal district judges and sued to collect the tax. The judges removed under Section

1442(a)(1). The county argued that the judges were being taxed personally, and not
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because of anything done under the color of their office. The Supreme Court

declined to conflate the merits determination with the removal determination:

       To choose between those readings of the Ordinance is to decide the
       merits of this case. Just as requiring a “clearly sustainable defense”
       rather than a colorable defense would defeat the purpose of the removal
       statute, Willingham, 395 U.S., at 407, so would demanding an airtight
       case on the merits in order to show the required causal connection.

Acker, 527 U.S. 423, 432 (1999). The merits are not at issue at this stage and the

removal analysis cannot be conflated with the merits analysis of immunity, etc.

       Here, both the Indictment and Mr. Clark’s Notice of Removal show that he is

being state prosecuted for or relating to acts under the color of his office—actions

he took as a double Assistant Attorney General in composing a draft letter—sending

it to and discussing it with his superiors at the Department of Justice under highly

privileged and confidential circumstances. The State’s argument assumes that their

allegations and their framing of events controls the color-of-law analysis. The

Supreme Court has repeatedly and flatly rejected that errant approach. Instead, the

Court must credit Mr. Clark’s theory of the case that he was acting under the color

of his office.

       Instead of following this clearly established law, the State obdurately insists

on prematurely arguing the substantive merits of Mr. Clark’s immunity defenses.

The Court in Georgia v. Heinze, 637 F. Supp. 3d 1316 (N.D. Ga. 2022), rejected an

analogous set of arguments made by the same District Attorney’s office. In Heinze,


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the State argued that under its version of events the defendants were not acting under

color of law because they had violated the Fourth Amendment. Id. at 1324. Here, the

State argues in parallel fashion that by drafting and seeking approval of a letter

relating to the election in Georgia, Mr. Clark stepped outside of what it claims was

the scope of his responsibilities as the Assistant Attorney General over two DOJ

Divisions and thus was beyond the color of law.

      This line of argument was rejected in Heinze and should be rejected here, too:

      The Court finds that this argument [that the defendants had violated
      the Fourth Amendment] concerns the merits of the criminal charges
      against the Defendants and is irrelevant to whether the Defendants
      acted under the color of federal authority for removal purposes. See
      e.g. Screws v. United States, 325 U.S. 91, 111 (1945) (“Acts of officers
      who undertake to perform their official duties are included [under the
      color of law] whether they hew to the line of their authority or overstep
      it.”); United States v. House, 684 F.3d 1173, 1200 (11th Cir. 2012)
      (“[A] law enforcement officer acts under the color of law when he acts
      with authority by virtue of his employment with the government, or the
      manner of his conduct ... makes clear that he was asserting the authority
      granted [to] him and not acting in the role of a private person.”)
      [(cleaned up)]. Thus, at this juncture, the Court gives no weight to the
      State’s Fourth Amendment violation arguments.

Heinze, 637 F. Supp. 3d at 1324 (emphasis added).

      Moreover, even if it were not barred at this stage (and it is), the premise of the

State’s color-of-law arguments is that Mr. Clark was outside of his lane in addressing

anything involving elections. This is incorrect as a matter of both law and fact. As

noted above, Mr. Clark’s commission was not limited to running only those two

Divisions: he was “an Assistant Attorney General.” By statute, Mr. Clark was not

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limited to any particular delimited set of statutory functions or responsibilities. 28

U.S.C. § 506. The State assumes that it is for the State to determine the scope of the

responsibilities of an Assistant Attorney General of the United States. It is not.

Constitutionally, that is none of the State’s business.

      The State’s Exh. D, Dkt. 28-4, is an email thread that starts with Mr. Clark’s

email of December 28, 2020, transmitting his draft letter to Mr. Donoghue and Mr.

Clark and requesting their concurrence. The first page of the email has a hand-

written note that reads: “This letter was opposed by the A/AG [Acting Attorney

General] + OLC [Office of Legal Counsel]. Discussed w/ POTUS [President of the

United States] on January 3, 2021 and he rejected AAG Clark’s idea to send it.” This

note was not authenticated by either Rosen or Donoghue in their depositions at Dkt.

30 and 29, respectively. But their testimony regarding the January 3, 2021 meeting

with the President confirms the substance of the note.

      They described a lengthy and contentious meeting with the President, Mr.

Clark, and four others besides themselves: Assistant Attorney General for the Office

of Legal Counsel Steven Engel, White House Counsel Patrick Cipollone, Deputy

White House Counsel Patrick Philbin, and White House lawyer Eric Herschmann.

All six other than Mr. Clark argued against the letter. The President was initially in

favor of sending the letter and having Mr. Clark take the helm of the Justice

Department. After several hours, however, the President decided not to send the


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letter and left Justice Department leadership as it was on January 2, 2021. That was

the end of the matter. It was a privileged discussion that never should have become

public and it was not leaked by Mr. Clark to the press or Congress.

       The significant point about this meeting for removal purposes is that the

President discussed the letter and election topics directly with Mr. Clark, and

directly sought his opinions and advice, along with that of all others present. The

President has the unqualified and illimitable right to seek and obtain such advice

from his senior legal advisors. This act by the President conclusively ratified that

Mr. Clark’s responsibilities included the election-related issues discussed in the draft

letter, and that all of his charged conduct was under color of law.

       It simply does not matter for purposes of removal that Mr. Rosen or Mr.

Donoghue or the others in the meeting with the President were opposed to the letter,

nor how vehemently they were opposed. The color-of-law test does not turn on such

questions. The Constitution gives the President the ultimate authority to “take Care

that the Laws be faithfully executed,” not those other officials. U.S. Const., art. II, §

3, cl. 8. It is sufficient for removal that the President discussed the issue directly with

Mr. Clark and others at considerable length before deciding against it.

              3.     C OLORABLE D EFENSES

       The third prong of the analysis is that the federal officer seeking removal must

raise a “colorable federal defense.” “Our Court gives this portion of § 1442(a)(1) a


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broad reading so as to encompass all cases where the federal officer can raise a

colorable defense arising out of their duty to enforce federal law.” Caver, 845 F.3d

at 1145 (cleaned up), citing Florida v. Cohen, 887 F.2d 1451, 1454 n.4 (11th Cir.

1989), quoting Willingham, 395 U.S. at 406-407. Mr. Clark does not need to win his

case on the merits in order to remove. The defense need only be colorable. Colorable

is a “quite low” bar and is easily surmounted in this case. Caver, 845 F.3d at 1144.

      Under the U.S. Constitution, the President of the United States, not the

Attorney General is the chief law enforcement officer under the Take Care Clause

because he alone is head of the entire Executive Branch. The Constitution vests all

Federal law enforcement power and prosecutorial discretion in the President. The

President’s discretion in these areas has long been considered “absolute,” and his

decisions exercising this discretion are presumed regular and are generally deemed

non-reviewable. See, e.g., United States v. Armstrong, 517 U.S. 456, 464 (1996);

United States v. Nixon, 418 U.S. 683, 693 (1974); see generally Saikrishna Prakash,

The Chief Prosecutor, 73 GEO. WASH. L. REV. 521 (2005). The Attorney General

and other DOJ lawyers, such as Mr. Clark, exercised discretion delegated to them

by the President subject to his supervision. They are “the hand” of the President for

the discharge of these authorities. Ponzi v. Fessenden, 258 U.S. 254, 262 (1922).

      To assist the President, he has the right to receive full and frank advice from

his advisors. The Opinion Clause imposes on senior federal officers like Mr. Clark


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a reciprocal duty to provide such advice upon request. See U.S. Const., art. II, § 2,

cl. 1 (Opinion Clause); see generally Neil Thomas Proto, Opinion Clause and

Presidential Decision-Making, 44 MISSOURI L. REV. 185 (1979).

      In this case, the U.S. Constitution does not allow any state/local government

to examine or otherwise regulate the internal deliberations that occur on a daily basis

among the President, his office, and senior government officials, including the

Acting Attorney General, the PDAG, or any Assistant Attorneys General. Review

of the content, direction, and wisdom of policy discussions falls within the

President’s exclusive sphere, U.S. Const. art. II § 1, cl. 8 (Take Care Clause); art. II

§ 2, cl. 1 (Opinion Clause); art. II § 2, cl. 2 (Appointments Clause). See also Nixon

v. Fitzgerald, 457 U.S. 731 (1982) (the President’s “absolute immunity” extends to

acts “within the ‘outer perimeter’ of his official duties”); Klayman v. Obama, 125 F.

Supp. 3d 67 (2015) (sovereign immunity bars RICO action against President and

former Secretaries of State for actions taken in their official capacities); Chugtai v.

Obama, 153 F. Supp. 3d 765 (E.D. Pa. 2015) (President and Air Force officials

absolutely immune from Title VII and tort claims).

      The Supremacy Clause therefore bars enforcement of any state’s criminal law

against Mr. Clark based on the content of his confidential internal deliberations at

the Department of Justice or with the President. This element of federal supremacy

has been clear since McCulloch v. Maryland, 17 U.S. (4 Wheat.) 316, 427 (1819):


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      [N]o principle of [state power] … can be admissible, which would
      defeat the legitimate operations of a supreme government. It is of the
      very essence of supremacy, to remove all obstacles to its action within
      its own sphere, and so to modify every power vested in subordinate
      governments, as to exempt its own operations from their own
      influence.2

      In Tennessee v. Davis, 100 U.S. 257 (1880), the immediate issue was federal

officer removal, but the Court’s discussion well explains the federal supremacy

interests that animated the decision:

      Now the execution and enforcement of the laws of the United States,
      and the judicial determination of questions arising under them, are
      confided to another sovereign [the federal sovereign], and to that extent
      the sovereignty of the state is restricted. The removal of cases arising
      under those laws from state into federal courts is therefore no invasion
      of state domain. On the contrary, a denial of the right of the general
      government to remove them, to take charge of and try any case arising
      under the Constitution or laws of the United States, is a denial of the
      conceded sovereignty of that government over a subject expressly
      committed to it.

Id. at 266-67.

      As the Court in Tennessee further explained:

      As was said in Martin v. Hunter … “The general government must
      cease to exist whenever it loses the power of protecting itself in the
      exercise of its constitutional powers.” It can act only through its officers
      and agents, and they must act within the states. If, when thus acting
      and within the scope of their authority, those officers can be arrested
      and brought to trial in a state court for an alleged offense against the
      law of the state, yet warranted by the federal authority they possess,

2 Similarly, in Tarble’s Case, 80 U.S. (13 Wall.) 397 (1872), the Court held “[i]t is

manifest that the powers of the National government could not be exercised with
energy and efficiency at all times, if its acts could be interfered with a controlled for
any period by officers or tribunals of another sovereignty.” Id. at 409.
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       and if the general government is powerless to interfere at once for their
       protection — if their protection must be left to the action of the state
       court — the operations of the general government may at any time be
       arrested at the will of one of its members.

Id. at 262-63. Such interference in the federal sphere cannot be allowed. Removal is

the first line of defense in upholding the constitutional order in this context.

       In Cunningham v. Neagle, 135 U.S. 1, 76 (1890), the Supreme Court held that

“[I]f the prisoner is held in the state court to answer for an act which he was

authorized to do by the law of the United States, which it was his duty to do as

marshal of the United States, and if, in doing that act, he did no more than what was

necessary and proper for him to do, he cannot be guilty of a crime under the law of

the state of California.” Id. at 75.

       The test is not whether the federal officer’s conduct violated state law, it is

whether it fell within his federal authority. See Seth P. Waxman and Trevor W.

Morrison, What Kind of Immunity? Federal Officers, State Criminal Law, and the

Supremacy Clause, 112 YALE L.J. 2195, 2233-34 (2003).3

       The foregoing establishes that it is a considerable understatement to

characterize Mr. Clark’s federal defenses as “colorable.”

       III.   FEDERALISM BALANCING PLAYS NO ROLE HERE AT ALL.

       Near the start of its order remanding Mr. Meadows’ removal, the Court stated



3 Mr. Waxman has switched sides now that a Republican official is in the dock.


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that “[t]here is a “‘strong judicial policy against federal interference with state

criminal proceedings.’ Arizona v. Manypenny, 451 U.S. 232, 243 (1981) (quoting

Huffman v. Pursue, Ltd., 420 U.S. 592, 600 (1975)).” But the Supreme Court did not

say this to block, condition, or narrow a federal officer removal, but only to

emphasize that States could appeal the merits when they lost on immunity in

removed federal officer cases. See Manypenny, 451 U.S. at 243 (“No further purpose

of the removal statute would be served by denying the State a right to seek review

when that very right is available under applicable state law.”).

      In opposing our request for emergency relief to avoid Mr. Clark’s arrest, the

State argued (without rebuttal because we were denied a reply brief) that staying Mr.

Clark’s arrest (contrary to cases above on federal immunity) would violate Younger

abstention and the Anti-Injunction Act. Both assertions are dead wrong. See In re

Commonwealth’s Motion to Appoint Counsel Against or Directed to Defender Ass’n

of Phila., 790 F.3d 457, 475 n.10 (3d Cir. 2015) (“The Commonwealth has pointed

us to no courts that have exercised Younger abstention where the federal officer

removal statute grants jurisdiction.”) (showing error of Meadows Op. at 45 n.17);

Erwin Chemerinsky, FEDERAL JURISDICTION, § 11.2, at 775-76 Injunctions in Aid of

Jurisdiction (6th ed. 2012) (explaining removal expressly authorizes injunctions and

thus falls outside of the Anti-Injunction Act) (citing 28 U.S.C. § 2283 (Reviser’s

Note) & “Mitchum v. Foster, 407 U.S. 225, 234-37 (1972) (removal as a situation


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where there is an express authorization of injunction); Dietzsch v. Huidekoper, 103

U.S. 494 (1880) (removal as exception to the Anti-Injunction Act)”). There is no

basis for engaging in an inapposite federalism-balancing analysis. The issue is

conclusively resolved by federal supremacy and approximately 200 years of removal

statutes and case law.

      IV.    T H E SPGJ P R O C E E D I N G S A R E R E M O V A B L E A S
             PROCEEDINGS.

      The State argues that the SGPJ Proceedings cannot be removed because they

are not an “action” under 28 U.S.C. § 1442(a). But Section 1442(d) defines

“action[s]” to include “proceeding[s] (whether or not ancillary to another

proceeding).” The SPGJ is surely that. Moreover, Section 1442(d)’s definition does

not hinge on whether the “proceeding[s]” are civil or criminal, so that question can

be deferred for later resolution. Finally, the remand decision in Mr. Clark’s D.C. Bar

case is not precedent and is on appeal to the D.C. Circuit, as it is in error. Lastly, the

State argues that the SPGJ Proceedings are now moot but we removed that before

the event that the State claims creates mootness occurred. The State cannot be

permitted to defeat a removable proceeding at the time we removed by trying to

moot it. In any event, the dispute on the mootness issue can also be resolved later.

                                    C ONCLUSION

      Removal jurisdiction plainly exists here and this Court should so hold.

      Respectfully submitted this 14th day of September, 20233.

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         CERTIFICATE OF COMPLIANCE WITH L.R. 5.1
      The undersigned hereby certifies that this filing was prepared in the Times

New Roman size 14 font in compliance with L.R. 5.1.

      This this 14th day of September 2023.

                                     /s/ Harry W. MacDougald
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                       CERTIFICATE OF SERVICE
      I certify that a copy of the foregoing Reply in Support of Removal was hereby

filed on this 14th day of September 2023 with the Court’s electronic filing system

which causes service to be made upon all counsel of record.



      This 14th day of September 2023

                                      /s/ Harry W. MacDougald
                                      Georgia Bar No. 463076
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